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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

FELICIA GIBSON,                        )
                                       )
      Plaintiff,                       )
                                       ) CIVIL ACTION FILE
v.                                     ) NO. 5:21-CV-00059-TES
                                       )
STANDARD INSURANCE                     )
COMPANY,                               )
                                       )
      Defendant.                       )

             STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff Felicia Gibson and Defendant Standard Insurance Company hereby

stipulate that this action shall be and the same is hereby dismissed with prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear

her/its own costs and expenses of litigation.

      This 6th day of December, 2021.

/s/ Heather Kendall Karrh                   /s/ Nikole M. Crow
Heather Kendall Karrh                       Nikole M. Crow
Georgia Bar No. 408379                      Georgia Bar No. 198359
                                            /s/ Brendan H. White
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                        CERTIFICATE OF SERVICE

      The undersigned certifies that a true and correct copy of the foregoing

STIPULATION OF DISMISSAL WITH PREJUDICE was filed using the

CM/ECF system, which will automatically provide notice to all attorneys of record

by electronic means.


      This 6th day of December, 2021.


                                           /s/ Brendan H. White
                                           Brendan H. White
                                           Georgia Bar No. 458315
